Thls document entered on the docket she

Case 1:05-cv-OlO72-.]DT-STA Document 30 Filed 07/25/05 Page 1 of 3 $Page|D 27

‘lé`b@
0 .,Lr
01129/59430-JDB SJQ \'
é’
|N THE UN|TED STATES DlSTR|CT COURT 51 /,’§Ej,,,/ 3 43 O’Q
FOR THE WEsTERN DlsTRlcT oF TENNEssEE g,/i'{;/“gf'~:§i'ae ,, '
EAsTERN DlvlsloN e¢°/,'/j¢¢.i“'/;;;;,§}“?;@
hen
JoE F. JENKle and JoAN J. JENKle, ) "?310%/'
Individual|y, )
)
Plaintiffs, )
)
vs. ) No. 1-05-1072 TlAn
)
ALDERN|AN GREG HORTON, JIM P|LLOW, )
MAYOR GEORGE KlLLEBREW and )
THE C|TY OF M|LAN, )
)
Defendants. )

 

ORDER GRANT|NG PLA|NT|FF’S MOTION FOR AN
EXTENSION OF THlRTY DAYS |N WHICH TO RESPOND TO
DEFENDANT GEORGE KlLLEBREW’S MOT|ON FOR SUN||V|ARY JUDGN|ENT

 

This matter came before the Court pursuant to PlaintiffJoe Jenkins’s l\/lotion seeking
additional time in which to respond to Defendant George Ki||ebrew’s motion for summary
judgment

Based upon the motion and supporting memorandum filed on behalf ofJoe Jenkins

and the response of Defendant George Ki||ebre\i\il the Court finds that Pl intitf Joe Jenl<ins
ix W)
O)

has shown good causzejor an extension of time of an additional thi days up to and
Jy,,~{¢, 206 $'

including gwin which to respond to Defendant George Ki||ebrew’s motion for

summaryjudgment.

Thisthe l?/ day of QL¢%; m

JKME?D`. ToDD, Judge

 

et |n compliance
q

with Rule 58 and,'or_'rs (a) FRGP on

730

Case 1:05-cv-OlO72-.]DT-STA Document 30 Filed 07/25/05 Page 2 of 3 Page|D 28

01 129/59430-JDB

APPRo\/ED FoR aursz ""‘ -`

RA|NEY, KlZER, REV| RE & BELL, P.L.C.

Byf §§

JOHN D. B LESON, BPR #10400
DALE COND R, JR., BPR #15419
Attorneys for Defendant George Killebrew,
in his individ al capacity

209 East Main Street

P. O. Box 1147

Jackson, TN 38302-1147

(731) 423-2414

CERTIFICATE OF SERVICE
The undersigned certifies that a true copy ofthis pleading or document Was served

upon counsel for each of the parties by mailing postage prepaid or by delivery to the person
or office of such counsel.

Mr. Lewis l_. Cobb |Vlr. |V|ichae| R. Hi|l

lVlr`. Clinton H. Scott F|ippinl Co||ins & Hill, P.l_.l_.C.
Spragins, Barnett, Cobb & Butler, PLC 1066 South l\/lain Street

312 East Lafayette Street P.O. Box 679

P.O. Box 2004 |\/li|an, TN 38358-0679
Jackson, TN 38302

Attorney for Piaintiffs

l\/lr. Fred lVchean

|V|cLean & l\/|cLean, P.C.
206 West Washington Street
Paris, TN 38242-4013

l\/|r. Edward J. iVchenney

Harris She|ton Hanover Wa|sh, PLLC
One Commerce Square, Suite 2700
Memphis, TN 38103

Thisthe /diayof l% ,2005. /
@< 7
/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:05-CV-01072 Was distributed by faX, mail, or direct printing on
.1 uly 27, 2005 to the parties listed.

ESSEE

 

LeWis L. Cobb

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

.1 aekson7 TN 38302--200

.1 ohn D. Burleson

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jaekson7 TN 38302--114

Fred N. MoLean
MCLEAN AND McLEAN
206 W. Washington Street
Paris7 TN 38242

Edward J. McKenney

HARRIS SHELTON HANOVER V\MLSH7 PLLC.

One Commeroe Square
Ste. 2700
1\/lemphis7 TN 38103--255

Miohael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/lilan7 TN 38358

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jaekson7 TN 38302--114

Honorable .1 ames Todd
US DISTRICT COURT

